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                                                                                                          2/21/2022 1:38 PM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 61931549
                                                                                                             By: Brittany Hall
                                                                                                   Filed: 2/21/2022 1:38 PM
RB/mr
                           CAUSE NO.
                                         -----------
JESUS OVIEDO                                   §                   IN THE DISTRICT COURT
Plaintiff                                      §
                                               §
vs.                                            §                             JUDICIAL DISTRICT
                                               §
HARDY BROTHERS, INC. and                       §
JAMES TORAIN THURMAN                           §
Defendants                                     §                  HARRISCOUNTY,TEXAS

                                PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES JESUS OVIEDO, hereinafter referred to by name or as Plaintiff,

complaining of and about HARDY BROTHERS, INC. and JAMES TORAIN THURMAN

hereinafter referred to by name or as Defendants, and for cause of action would show unto the

Court the following:

                                                   I.
                                 DISCOVERY CONTROL PLAN

         Plaintiff intends to conduct discovery in this cause of action under Discovery Control

Plan, Level 3, in accordance with Rule 190.4 of the Texas Rules of Civil Procedure.

                                                   II.
                                          JURISDICTION

          This court has jurisdiction and venue is proper in Harris County, Texas because that is

 where all or a substantial part of the events or omissions giving rise to the claim accrued.

                                                   III.
                                              PARTIES

          1.     Plaintiff is a resident of Houston, Harris County, Texas.




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                                       EXHIBIT A
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       2.      Defendant, HARDY BROTHERS, INC., is a Corporation doing business in the

State of Texas. Defendant has purposefully availed itself of the privilege of conducting business

in the state of Texas and established minimum contacts sufficient to confer jurisdiction over said

Defendant. The assumption of jurisdiction over Defendant will not offend traditional notions of

fair play and substantial justice and is consistent with the constitutional requirements of due

process. Defendant may be served with process by and through its Registered Agent, National

Resident Agent Service, Inc., Douglas Fletcher, 9201 N. Central Expressway, Suite 600,

Dallas, Texas 75231.

       3.      Defendant, JAMES TORAIN THURMAN is an individual residing in Garland,

Texas, and may be served with Citation by private process at: 348 Rainbow Lane, Dry Fork,

Virginia 24549-4404, or wherever he may be found.

                                             IV. •
                                            FACTS

       On or about March 8, 2020, Plaintiff was driving his vehicle in a reasonable and prudent

manner, exercising ordinary care for his safety and the safety of others when Plaintiff was

involved in a collision. Plaintiff was traveling on the 610 Loop in Houston, Harris County,

Texas. Defendant JAMES TORAIN THURMAN was operating an 18-wheeler in the lane

directly to the right of Plaintiff. Defendant JAMES TORAIN THURMAN failed to maintain a

single lane of travel and merged into Plaintiff's lane when unsafe.       As a result, Defendant

JAMES TORAIN THURMAN's vehicle struck Plaintiffs vehicle.

       At the time of the accident at issue, Defendant JAMES TORAIN THURMAN was

driving a vehicle owned by Defendant HARDY BROTHERS, INC. Also at the time of the

accident at issue, Defendant JAMES TORAIN THURMAN was an employee of HARDY


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BROTHERS, INC. and was within the course and scope of his employment for HARDY

BROTHERS, INC.

      Due to the negligence of Defendants, Plaintiff suffered severe physical injuries.



                                         V.
                         PLAINTIFFS' CLAIM OF NEGLIGENCE
                           AGAINST HARDY BROTHERS, INC.

       At the time of the collision, Defendant JAMES TORAIN THURMAN                       was an

employee of Defendant HARDY BROTHERS, INC. And at the time of the collision in

question, Defendant JAMES TORAIN THURMAN was in the course and scope of his

employment with Defendant HARDY BROTHERS, INC.                     Moreover, Defenant JAMES

TORAIN THURMAN was negligent at the time of the collision and his negligence was a

proximate cause of this collision.       Defendant HARDY BROTHERS, INC. is legally

responsible under the theory of Respondeat Superior.

       Defendant HARDY BROTHERS, INC. is also negligent for the negligent

entmstment of its vehicle to Defendant JAMES TORAIN THURMAN, negligent hiring,

negligent retention, and negligent training.

                                     VI.
                     NEGLIGENCE OF JAMES TORAIN THURMAN

       The collision and Plaintiff's injuries suffered by reason thereof were proximately caused

by Defendant's negligent, careless and reckless disregard of duty which consisted of, but is not

limited to, the following acts and omissions:

       1.         Failing to keep a proper lookout for Plaintiffs safety that would have been
                  maintained by a person of ordinary prudence under the same or similar
                  circumstances;

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       2.          Failing to turn to the right or left to avoid the collision;

       3.          Failing to properly and timely apply the brakes of the vehicle in order to avoid
                   the collision in question;

       4.          Failing to honk the horn or to give any sign of warning of
                   impending collision;

       5.          Failing to maintain a single lane of travel;

       6.          Merging into another lane with unsafe; and

       7.          Failing to control the vehicle.

       Each of the aforementioned negligent acts or om1ss10ns of Defendant constituted a

proximate cause of the collision and of the resulting damages and injuries to Plaintiff.

                                          VII.
                                  DAMAGES FOR PLAINTIFF

            As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff was caused to suffer general bodily injuries.

            As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff has incurred the following damages:

            1.     Reasonable medical care and expenses in the past. These expenses were
                   incurred by Plaintiff for the necessary care and treatment of the injuries
                   resulting from the accident complained of herein and such charges are
                   reasonable and were usual and customary charges for Texas;

            2.     Reasonable and necessary medical care and expenses which will in all
                   reasonable probability be incurred in the future;

            3.     Physical pain and suffering in the past;

            4.     Mental anguish in the past;

            5.     Physical pain and suffering in the future;

            6.     Mental anguish in the future;

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           7.      Physical impairment in the past;

           8.      Lost wages;

           9.      Property damage; and

           10.     Physical impairment which, in all reasonable probability, will be suffered in
                   the future .

        By reason of all of the above, Plaintiff has suffered losses and damages in a sum within

the jurisdictional limits of the Court and for which this lawsuit is brought.



                                                 VIII.
                                             JURY DEMAND

        Plaintiff demands a trial by jury.

                                                 IX.
                                   REQUIRED DISCLOSURE

      Pursuant to Texas Rule of Civil Procedure 194(a), each Defendant is required to disclose,

within thirty (30) days of the filing of the first answer, the information or material described in

Rule 194.2(b)l-12. Any Defendant that is served or othe1wise joined after the filing of the first

answer must make their initial disclosures within thirty (30) days after being served or joined.


                                               X.
                                       RULE 193. 7 NOTICE

        Pursuant to Rule 193 .7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives

notice that all documents produced by any party to this case may be used at any pretrial

proceeding or at the trial of this matter.

                                                 XI.

        Plaintiff seeks monetary relief over $250,000.00, but not more than $1 ,000,000.00.


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                                                XII.
                           DESIGNATED E-SERVICE ADDRESS
       The following is the undersigned attorney's designated £-Service e-mail address for all

e-served documents and notices, filed and untiled, pursuant to Tex. R. Civ. P. 21(f)(2) & 21a:

be efile@bonilla-chapalaw.com. This is the undersigned's only £-Service e-mail address, and

service through any other e-mail address will be considered invalid.


                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the

Defendants be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiff and against the Defendants for damages in an amount

within the jurisdictional limits of the Court; together with pre-judgment and post-judgment

interest at the legal rate, costs of court; and such other and further relief to which the Plaintff

may be entitled, both at law and in equity.

                                                       Respectfully submitted,

                                                       BONILLA & CHAPA, P.C.
                                                       P.O. Box 5488
                                                       Corpus Christi Texas 78465-5488

                                                       FW:::i-
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